Form denyd

211 West Fort Street
Detroit, MI 48226


                                UNITED STATES BANKRUPTCY COURT
                                      Eastern District of Michigan

                                          Case No.: 23−51124−tjt
                                                Chapter: 7

In Re: (NAME OF DEBTOR(S))
   Keyanna Mae Thomas
   1029 Studebaker Avenue
   Ypsilanti, MI 48198−6284
Social Security No.:
   xxx−xx−3448
Employer's Tax I.D. No.:


 NOTICE TO CREDITORS AND OTHER PARTIES IN INTEREST OF ORDER DENYING DISCHARGE



NOTICE IS HEREBY GIVEN that on April 25, 2024 an order was entered denying the discharge in the
above−entitled Chapter 7 case.




Dated: 4/25/24

                                                      BY THE COURT



                                                      Todd M. Stickle , Clerk of Court
                                                      UNITED STATES BANKRUPTCY COURT




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